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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

THE NEW GEORGIA PROJECT, *
et             al.,                   *
                                            *

             Plaintiffs, *
                                            *

      v. * 1:20-CV-01986-ELR
                                            *

BRAD RAFFENSPERGER, *
in his official capacity as the Georgia *
Secretary of State and the Chair of the *
Georgia State Election Board, et al., *
                                            *

             Defendants. *




                                      ORDER


       Presently before the Court is Defendants Brad Raffensperger, in his official

capacity as Secretary of State and the Chair of the Georgia State Election Board and

State Election Board Members Rebecca N. Sullivan, David J. Worley, Anh Le, and

Matthew Mashbum's "Unopposed Motion For Expedited Briefing On State

Defendants' Motion To Stay Preliminary Injunction Pending Appeal." [Doc. 140].

In their motion. State Defendants request that Plaintiffs' response to "State

Defendants' Motion to Stay Preliminary Injunction Pending Appeal" [Doc. 137] be

due no later than Friday, September 11, 2020; State Defendants also agree to forego


a reply brief in the interest of time. [Doc. 140 at 2].
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      State Defendants contend that this briefing schedule is necessary to allow

sufficient time for the Court to rule on State Defendants' motion and timely seek

appellate review of the preliminary injunction. [Id.]

      For good cause shown, and noting no opposition, the Court GRANTS State

Defendants' motion. [Doc. 140]. Plaintiffs' response to State Defendants' motion

to stay [Doc. 137] is due on or before Friday, September 11,2020.

      SO ORDERED, this ^_ 'day of September, 2020.




                                                  ^^n ^' 7
                                              Eleanor L/Ross
                                              United States District Judge
                                              Northern District of Georgia
